        Case 1:17-cv-02989-AT Document 1738 Filed 12/13/23 Page 1 of 7




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

DONNA CURLING, ET AL.,
Plaintiffs,
                                              Civil Action No. 1:17-CV-2989-AT
v.

BRAD RAFFENSPERGER, ET AL.,
Defendants.

       MOTION FOR USE OF ELECTRONIC EQUIPMENT IN THE
     COURTROOM DURING DECEMBER 15 PRETRIAL CONFERENCE

       Plaintiffs Donna Curling, Donna Price and Jeffrey Schoenberg (the “Curling

Plaintiffs”) respectfully move for entry of an Order authorizing the use of

electronic equipment, including 6 laptop computers with laptop power cords, 2

tablet computers (e.g., Apple iPad, Microsoft Surface Pro), 10 smart phones with

smartphone power cords, 2 USB drives, and one personal WiFi hotspot device, by

their legal representatives on Friday, December 15, 2023 in conjunction with a

pretrial conference scheduled to begin at 10:30 a.m. before Judge Amy Totenberg

in Courtroom 2308 of the above-captioned Court.

       The Curling Plaintiffs submit that good cause exists to grant this Motion,

and request that this authorization for their attending counsel of record, David D.

Cross, Mary Kaiser, Ramsey Fisher, Christian Andreu-von Euw, Adam M. Sparks,

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        Case 1:17-cv-02989-AT Document 1738 Filed 12/13/23 Page 2 of 7




Halsey G. Knapp, and Jessica G. Cino, extend through completion of the hearing,

at the Court’s discretion.

      The Curling Plaintiffs additionally request that Donna Price be permitted to

bring one smartphone with smartphone power cord to provide necessary personal

audio accommodation at the December 15, 2023 pretrial conference.

      WHEREFORE the Curling Plaintiffs respectfully request that this Court

enter an Order GRANTING this Motion and the relief it requests.

      A proposed Order is attached hereto.

      Respectfully submitted, this 13th day of December, 2023.

/s/ David D. Cross                          /s/ Halsey G. Knapp, Jr.
David D. Cross (pro hac vice)               Halsey G. Knapp, Jr.
Mary G. Kaiser (pro hac vice)               GA Bar No. 425320
Matthaeus Martino-Weinhardt                 Adam M. Sparks
(pro hac vice)                              GA Bar No. 341578
Ramsey Fisher (pro hac vice)                Jessica G. Cino
Aaron Scheinman (pro hac vice)              GA Bar No. 577837
Benjamin Campbell (pro hac vice)            KREVOLIN & HORST, LLC
Wail Jihadi (pro hac vice)                  1201 West Peachtree Street, NW
Oluwasegun Joseph (pro hac vice)            Suite 3250
MORRISON & FOERSTER LLP                     Atlanta, GA 30309
2100 L Street, NW, Suite 900                (404) 888-9700
Washington, DC 20037                        hknapp@khlawfirm.com
(202) 887-1500
dcross@mofo.com




                                        2
  Case 1:17-cv-02989-AT Document 1738 Filed 12/13/23 Page 3 of 7




                                      /s/ Christian G. Andreu-von Euw
                                      Christian G. Andreu-von Euw
                                      (pro hac vice)
                                      THE BUSINESS LITIGATION GROUP, PC
                                      150 Spear Street
                                      San Francisco, CA 94105
                                      (415) 765-6633
                                      christian@blgrp.com
Counsel for Plaintiffs Donna Curling, Donna Price & Jeffrey Schoenberg




                                  3
       Case 1:17-cv-02989-AT Document 1738 Filed 12/13/23 Page 4 of 7




              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

DONNA CURLING, ET AL.,
Plaintiffs,
                                            Civil Action No. 1:17-CV-2989-AT
v.

BRAD RAFFENSPERGER, ET AL.,
Defendants.

                     CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing document has been prepared in accordance

with the font type and margin requirements of LR 5.1, using font type of Times New

Roman and a point size of 14.

                                            /s/ David D. Cross
                                            David D. Cross




                                        4
        Case 1:17-cv-02989-AT Document 1738 Filed 12/13/23 Page 5 of 7




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 DONNA CURLING, ET AL.,
 Plaintiffs,
                                               Civil Action No. 1:17-CV-2989-AT
 v.

 BRAD RAFFENSPERGER, ET AL.,
 Defendants.

                          CERTIFICATE OF SERVICE

      I hereby certify that on December 13, 2023, a copy of the foregoing document

was electronically filed with the Clerk of Court using the CM/ECF system, which

will automatically send notification of such filing to all attorneys of record.

                                               /s/ David D. Cross
                                               David D. Cross




                                           5
             Case 1:17-cv-02989-AT Document 1738 Filed 12/13/23 Page 6 of 7




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

    DONNA CURLING, ET AL.,
    Plaintiffs,
                                                  Civil Action No. 1:17-CV-2989-AT
    v.

    BRAD RAFFENSPERGER, ET AL.,
    Defendants.

              ORDER TO ALLOW USE OF ELECTRONIC EQUIPMENT
                           IN THE COURTROOM

            IT IS HEREBY ORDERED that counsel of record for the Curling Plaintiffs1

in the above-referenced case, David D. Cross, Mary Kaiser, Ramsey Fisher,

Christian Andreu-von Euw, Adam M. Sparks, Halsey G. Knapp, and Jessica G.

Cino, be permitted to bring the following personal electronic devices into the

Richard B. Russell Federal Building, Courtroom 2308, on December 15, 2023 for a

pretrial conference before Judge Amy Totenberg:

          laptop computers and computer accessories (e.g., computer mouse, battery

            recharger, personal WiFi hotspots, power cords);

          tablet computers (e.g., Apple iPad, Microsoft Surface Pro); and




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    The Curling Plaintiffs are Donna Curling, Donna Price, and Jeffrey Schoenberg.
        Case 1:17-cv-02989-AT Document 1738 Filed 12/13/23 Page 7 of 7




    apple watch and mobile phones, including mobile phones with cameras

      (which may also operate as WiFi hotspots).

It is further ordered that Donna Price be permitted to bring one smartphone with

smartphone power cord. Proper identification will be required upon entering the

facility. Said electronic equipment shall be subject to inspection by the facility’s

law enforcement/security officers.

      IT IS SO ORDERED this ___th day of _____, 2023.



                                        AMY TOTENBERG
                                        UNITED STATES COURT JUDGE
